                 IN THE UNITED STATES DISTRICT COURT

            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                 :
                                         :
                  v.                     :         1:23CR264-1
                                         :
RYAN LEWIS LITTLE                        :


                                FACTUAL BASIS

      NOW COMES the United States of America, by and through Sandra J.

Hairston, United States Attorney for the Middle District of North Carolina,

and as a factual basis under Rule 11, Fed. R. Crim. P., states the following:

      At approximately 10:30 p.m., on or about April 20, 2022, Officer-1 and

other New York Police Department (NYPD) officers responded to the scene of

a reported robbery at Restaurant1. Upon their arrival, Officer-1 spoke with

an employee of Restaurant (“Victim-1”), who reported that a male individual

(“Suspect-1”) had entered Restaurant, brandished a silver firearm that was

partially concealed beneath a newspaper, and removed approximately $1,500

from the Restaurant cash register. Victim-1 reported that Suspect-1 then left

Restaurant, and that Victim-1 followed Suspect-1 into a nearby park (the

“Park”).

1
 At all times relevant to this matter, Restaurant bought supplies from vendors
outside the state of New York and therefore, it is a business engaged in commerce,
as defined in Title 18, United States Code, Section 1951(b)(3).




           Case 1:23-cr-00264-UA Document 4 Filed 11/03/23 Page 1 of 9
      Victim-1 reported to Officer-1 and the other law enforcement officers

that Suspect-1 was still hiding somewhere in the Park, and the officers

proceeded to canvass the area.

      Shortly thereafter, law enforcement officers observed a man, later

identified to be Ryan Lewis Little (LITTLE) emerging from bushes nearby

and attempting to flee from the area. The officers chased LITTLE on foot and

apprehended him moments later. At the time of his arrest, LITTLE had in

his   possession   approximately   $1,100   in   cash.   While   LITTLE   was

apprehended and secured, Officer-1 searched the path along which LITTLE

had fled and recovered from the ground a loaded, silver .40 caliber Ruger P94

pistol.

      Following the arrest of LITTLE, a witness (“Victim-2”) approached law

enforcement and informed them that the person they had arrested, i.e.,

LITTLE, had brandished a firearm at Victim-2 earlier that night.

Specifically, Victim-2 reported that at approximately 10:30 p.m. that night,

Victim-2 was sitting in his car, parked between Restaurant and the Park,

when LITTLE abruptly entered the front passenger seat.           LITTLE asked

Victim-2 to drive him away from the location, stating, in sum and substance,

“take me, somebody is trying to kill me.”



                                      2




          Case 1:23-cr-00264-UA Document 4 Filed 11/03/23 Page 2 of 9
       After Victim-2 refused to drive LITTLE, LITTLE brandished a silver

firearm. Victim-2 fled from the car and attempted to locate law enforcement,

while LITTLE moved to the driver’s seat of the vehicle. Victim-2, however,

was able to remotely disable the vehicle using his key fob, at which point

LITTLE fled toward the Park.

       Law enforcement reviewed video surveillance footage from inside

Restaurant and saw Suspect-1 wearing a blue hooded sweatshirt with a logo

in the upper-left corner, a gray backpack, a black mask, and a dark, brimmed

hat.

       Still images from the Surveillance Footage, showing Suspect-1 wearing

these items while committing the robbery, are below.




                                      3




         Case 1:23-cr-00264-UA Document 4 Filed 11/03/23 Page 3 of 9
                            4




Case 1:23-cr-00264-UA Document 4 Filed 11/03/23 Page 4 of 9
     Approximately two hours after the Robbery, an NYPD Detective,

(Detective-1) canvassed the area of the Park immediately surrounding where

LITTLE was arrested. During that canvass, Detective-1 recovered, among

other things, a backpack and multiple items of clothing, which matched the

appearance of the items worn by Suspect-1 during the robbery, photographs

of which are provided below:




                                    5




        Case 1:23-cr-00264-UA Document 4 Filed 11/03/23 Page 5 of 9
                            6




Case 1:23-cr-00264-UA Document 4 Filed 11/03/23 Page 6 of 9
     Prior to this incident, on or about October 15, 2007, LITTLE was

convicted in Greensboro, North Carolina of second-degree kidnapping, in

violation of North Carolina General Statutes Section 14-39, and sentenced to

46 to 65 months’ imprisonment. As such, LITTLE was aware he had been

convicted of a crime punishable by more than one year in prison.




                                      7




         Case 1:23-cr-00264-UA Document 4 Filed 11/03/23 Page 7 of 9
This, the 3rd day of November, 2023.

                                   Respectfully submitted,

                                   SANDRA J. HAIRSTON
                                   United States Attorney


                                   /S/ NICOLE R. DUPRÉ
                                   Assistant United States Attorney
                                   NCSB #41214
                                   United States Attorney’s Office
                                   Middle District of North Carolina
                                   251 N. Main Street, Suite 726
                                   Winston-Salem, NC 27101
                                   Phone: 336-333-5351




                                       8




        Case 1:23-cr-00264-UA Document 4 Filed 11/03/23 Page 8 of 9
                         CERTIFICATE OF SERVICE

      I hereby certify that on November 3, 2023, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system,

which will send notification of such filing to the following:

                           Ames C. Chamberlin, Esq.

                                      /S/ NICOLE R. DUPRÉ
                                      Assistant United States Attorney
                                      NCSB #41214
                                      United States Attorney’s Office
                                      Middle District of North Carolina
                                      251 N. Main Street, Suite 726
                                      Winston-Salem, NC 27101
                                      Phone: 336-333-5351




         Case 1:23-cr-00264-UA Document 4 Filed 11/03/23 Page 9 of 9
